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 In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

**********************
CHARLES WILLIAMS,                        *
                                         *           No. 18-732V
                    Petitioner,          *           Special Master Christian J. Moran
                                         *
v.                                       *           Filed: August 11, 2022
                                         *
SECRETARY OF HEALTH                      *           Attorneys’ Fees and Costs
AND HUMAN SERVICES,                      *
                                         *
                    Respondent.          *
* * * * * * * * * * * * * * * * * * * ** *

Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for Petitioner;
Mallori B. Openchowski, United States Dep’t of Justice, Washington, DC, for
Respondent.

                      UNPUBLISHED DECISION AWARDING
                        ATTORNEYS’ FEES AND COSTS1

       Pending before the Court is petitioner Charles Williams’ motion for final
attorneys’ fees and costs. He is awarded $34,786.74.

                                        *       *       *

     On May 23, 2018, petitioner filed for compensation under the Nation
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10 through 34.

       1
          Because this published decision contains a reasoned explanation for the action in this
case, the undersigned is required to post it on the United States Court of Federal Claims' website
in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). This posting means the
decision will be available to anyone with access to the internet. In accordance with Vaccine Rule
18(b), the parties have 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will
redact such material from public access.
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Petitioner alleged that an influenza vaccine caused him to suffer a shoulder injury
related to vaccine administration. Following the submission of expert reports, the
undersigned held a status conference on December 17, 2020, to discuss the
scheduling for briefs in advance of potential adjudication – at that time, petitioner’s
counsel indicated that she believed her client may have recently passed away.
Counsel filed a copy of petitioner’s death certificate on March 9, 2021. Thereafter,
counsel attempted to identify any person who might want to pursue this action on
behalf of the estate of Mr. Williams but was unsuccessful. On August 18, 2021, the
undersigned issued his decision dismissing the petition due to the lack of a proper
petitioner to maintain the action. 2021 WL 4171721 (Fed. Cl. Spec. Mstr. Aug. 18,
2021).

       On November 6, 2021, petitioner filed a motion for final attorneys’ fees and
costs (“Fees App.”). Petitioner requests attorneys’ fees of $23,890.60 and
attorneys’ costs of $12,632.24 for a total request of $36,522.84. Fees App. at 2.
Pursuant to General Order No. 9, petitioner warrants that he has not personally
incurred any costs related to the prosecution of her case. Id.2 On November 17,
2021, respondent filed a response to petitioner’s motion. Respondent argues that
“[n]either the Vaccine Act nor Vaccine Rule 13 contemplates any role for
respondent in the resolution of a request by a petitioner for an award of attorneys’
fees and costs.” Response at 1. Respondent adds, however that he “is satisfied the
statutory requirements for an award of attorneys’ fees and costs are met in this
case.” Id at 2. Additionally, he recommends “that the Court exercise its
discretion” when determining a reasonable award for attorneys’ fees and costs. Id.
at 3. Petitioner did not file a reply thereafter.

                                        *       *       *

       Although compensation was denied, petitioners who bring their petitions in
good faith and who have a reasonable basis for their petitions may be awarded
attorneys’ fees and costs. 42 U.S.C. § 300aa-15(e)(1). In this case, although
petitioner’s claim was ultimately unsuccessful the undersigned finds that good
faith and reasonable basis existed throughout the matter. Respondent has also
indicated that he is satisfied that good faith and reasonable basis have been
satisfied. Respondent’s position greatly contributes to the finding of reasonable
basis. See Greenlaw v. United States, 554 U.S. 237, 243 (2008) (“[W]e rely on the

       2
         Ms. Senerth represented that the petitioner did not incur any costs. While normally the
petitioner, not counsel, should submit the General Order No. 9 statement, Mr. Williams’s death
prevents him from signing the General Order No. 9 statement.

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parties to frame the issues for decision and assign to courts the role of neutral
arbiter of matters the parties present.”) A final award of reasonable attorneys’ fees
and costs is therefore proper in this case and the remaining question is whether the
requested fees and costs are reasonable.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs.
§15(e). The Federal Circuit has approved the lodestar approach to determine
reasonable attorneys’ fees and costs under the Vaccine Act. This is a two-step
process. Avera v. Sec’y of Health & Human Servs., 515 F.3d 1343, 1348 (Fed.
Cir. 2008). First, a court determines an “initial estimate … by ‘multiplying the
number of hours reasonably expended on the litigation times a reasonable hourly
rate.’” Id. at 1347-48 (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)).
Second, the court may make an upward or downward departure from the initial
calculation of the fee award based on specific findings. Id. at 1348. Here, because
the lodestar process yields a reasonable result, no additional adjustments are
required. Instead, the analysis focuses on the elements of the lodestar formula, a
reasonable hourly rate and a reasonable number of hours.

       In light of the Secretary’s lack of objection, the undersigned has reviewed
the fee application for its reasonableness. See McIntosh v. Secʼy of Health &
Human Servs., 139 Fed. Cl. 238 (2018)

      A.     Reasonable Hourly Rates

       Under the Vaccine Act, special masters, in general, should use the forum
(District of Columbia) rate in the lodestar calculation. Avera, 515 F.3d at 1349.
There is, however, an exception (the so-called Davis County exception) to this
general rule when the bulk of the work is done outside the District of Columbia
and the attorneys’ rates are substantially lower. Id. 1349 (citing Davis Cty. Solid
Waste Mgmt. and Energy Recovery Special Serv. Dist. v. U.S. Envtl. Prot.
Agency, 169 F.3d 755, 758 (D.C. Cir. 1999)). In this case, all the attorneys’ work
was done outside of the District of Columbia.

        Petitioner requests the following rates of compensation for the work of his
counsel: for Ms. Amy Senerth, $225.00 per hour for work performed in 2017,
$233.00 per hour for work performed in 2018, $250.00 per hour for work
performed in 2019, $275.00 per hour for work performed in 2020, and $300.00 per
hour for work performed in 2021; and for Ms. Leigh Finfer, $185.00 per hour for
work performed in 2019. The undersigned has reviewed the requested rates and
finds them to be reasonable and consistent with what the undersigned has
previously awarded to petitioner’s counsel at Muller Brazil, LLP for her Vaccine

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Program work. See, e.g. Edwards v. Sec’y of Health & Human Servs., No. 19-
338V, 2021 WL 5026824 (Fed. Cl. Spec. Mstr. Sept. 29, 2021). Accordingly, the
requested hourly rates are reasonable.

      B.     Reasonable Number of Hours

      The second factor in the lodestar formula is a reasonable number of hours.
Reasonable hours are not excessive, redundant, or otherwise unnecessary. See
Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993).
The Secretary also did not directly challenge any of the requested hours as
unreasonable.

       The undersigned has reviewed the submitted billing entries and finds the
request to be largely reasonable. However, there are several minor issues which
necessitate a reduction. First, there were billing entries for administrative tasks
such as paralegals filing documents and attorneys billing time to direct their filing.
See Guerrero v. Sec’y of Health & Human Servs., No. 12-689V, 2015 WL
3745354, at *6 (Fed. Cl. Spec. Mstr. May 22, 2015) (citing cases), mot. for rev.
den’d in relevant part and granted in non-relevant part, 124 Fed. Cl. 153, 160
(2015), app. dismissed, No. 2016-1753 (Fed. Cir. Apr. 22, 2016). Second, there
was some duplicative review of orders between Ms. Senerth and her paralegals,
leading to an excessive amount of time billed for their review. Finally, virtually all
of the time billed by Ms. Finfer is paralegal in nature, as it appears she was tasked
with sending requests for medical records and following up on those requests for a
short period of time. When an attorney does the work of a paralegal or
administrative assistant, he or she should be paid a rate commensurate with the
nature of the work. See Valdes v. Sec'y of Health & Human Servs., 89 Fed. Cl.
415, 425 (2009) (noting that “the Special Master exercised appropriate discretion
in denying requested costs for work performed by Petitioner’s counsel’s associate”
when the special master determined “that the associate’s time spent obtaining
medical records was more consistent with paralegal duties.”)

       The undersigned will reduce the final award of fees by $1,148.60 to account
for these issues. Petitioner is awarded final attorneys’ fees of $22,742.00.

      C.     Costs Incurred

      Like attorneys’ fees, a request for reimbursement of costs must be
reasonable. Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed.
Cl. 1992), aff’d, 33 F.3d 1375 (Fed. Cir. 1994). Petitioner requests a total of
$12,632.24 in attorneys’ costs. This amount is comprised of acquiring medical

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records, the Court’s filing fee, postage, and work performed by petitioner’s
medical expert, Dr. Naveed Natanzi.

      Dr. Natanzi’s billed hours are reasonable. However, he billed his time at
$500.00 per hour. This rate exceeds what he has previously been awarded in the
Vaccine Program. See Peterson v. Sec’y of Health & Human Servs., No. 17-732V,
2021 WL 2947435 (Fed. Cl. Spec. Mstr. Jun. 9, 2021) (awarding Dr. Natanzi
$475.00 per hour). The undersigned shall award that rate herein, and a reasonable
amount for Dr. Natanzi’s work is $11,162.50.

       The remainder of the costs are reasonable and shall be fully awarded.
Petitioner is therefore awarded final attorneys’ costs of $12,044.74.

       D.      Conclusion

       The Vaccine Act permits an award of reasonable attorney’s fees and costs.
42 U.S.C. § 300aa-15(e). Accordingly, I award a total of $34,786.74 (representing
$22,742.00 in attorneys’ fees and $12,044.74 in attorneys’ costs) as a lump sum in
the form of a check payable to petitioner’s counsel, Ms. Amy Senerth.

       In the absence of a motion for review filed pursuant to RCFC Appendix B,
the clerk of the court is directed to enter judgment herewith.3


               IT IS SO ORDERED.


                                                            s/Christian J. Moran
                                                            Christian J. Moran
                                                            Special Master




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          Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a
joint notice renouncing their right to seek review.

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